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                                          $)),'$9,7

,$QGUHZ&RKHQ6SHFLDO$JHQWZLWKWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQ )%, EHLQJGXO\
VZRUQKHUHE\GHSRVHDQGVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\LQIRUPDWLRQ
NQRZOHGJHDQGEHOLHI
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                    ,1752'8&7,21$1'$*(17%$&.*5281'

    ,DPD6SHFLDO$JHQWZLWKWKH)%,DQGKDYHEHHQVLQFH,DPFXUUHQWO\DVVLJQHGWR
       WKH'HQYHU'LYLVLRQRIWKH)%,DQGVSHFLILFDOO\WRWKH6RXWKHUQ&RORUDGR6DIH6WUHHWV
       7DVN)RUFH,LQYHVWLJDWHPRQH\ODXQGHULQJDQGGUXJWUDIILFNLQJLQWKHQRUPDOFRXUVHRI
       P\GXWLHVDQG,DPIXOO\IDPLOLDUZLWKWKHIDFWVRIWKHFDVH'XULQJWKHFRXUVHRIP\
       FDUHHU,KDYHEHHQLQYROYHGLQPXOWLSOHQDUFRWLFVLQYHVWLJDWLRQVLQFOXGLQJVXEVWDQFHV
       VXFKDVPHWKDPSKHWDPLQHFRFDLQHDQGKHURLQ,DOVRKDYHLQYHVWLJDWHGDQGFKDUJHG
       LQGLYLGXDOVLQFDVHVLQYROYLQJWKHSRVVHVVLRQRIILUHDUPVE\SURKLELWHGSHUVRQV

    7KHIDFWVLQWKLVDIILGDYLWFRPHIURPP\SHUVRQDOREVHUYDWLRQVP\WUDLQLQJDQG
       H[SHULHQFHDQGLQIRUPDWLRQREWDLQHGIURPRWKHUDJHQWVODZHQIRUFHPHQWRIILFLDOVDQG
       ZLWQHVVHV

    7KLVDIILGDYLWLVLQWHQGHGWRVKRZPHUHO\WKDWWKHUHLVVXIILFLHQWSUREDEOHFDXVHIRUWKH
       UHTXHVWHGFULPLQDOFRPSODLQWDQGDUUHVWZDUUDQWDQGGRHVQRWVHWIRUWKDOORIP\
       NQRZOHGJHDERXWWKLVPDWWHU

                          1$785(2)7+($//(*('2))(16(

    ,VXEPLWWKHUHLVSUREDEOHFDXVHWREHOLHYHWKDWIURPDWLPHXQNQRZQEXWQRWODWHUWKDQ
       RQRUDERXW)HEUXDU\XSWRDQGLQFOXGLQJRQRUDERXW-XQHLQWKH6WDWH
       DQG'LVWULFWRI&RORUDGRDQGHOVHZKHUH*,/6$17,1,-(68627+21&<17+,$
       '$:1$//(1&$5/721/(52<$//(1DQG$6+/(<1$20,5$1((5('(
       DQGRWKHUVERWKNQRZQDQGXQNQRZQGLGNQRZLQJO\DQGLQWHQWLRQDOO\FRPELQHFRQVSLUH
       FRQIHGHUDWHDQGDJUHHZLWKLQWHUGHSHQGHQFHWRGLVWULEXWHDQGSRVVHVVZLWKLQWHQWWR
       GLVWULEXWHJUDPVRUPRUHRIDPL[WXUHRUVXEVWDQFHFRQWDLQLQJDGHWHFWDEOHDPRXQWRI
       PHWKDPSKHWDPLQHLWVVDOWVLVRPHUVDQGVDOWVRILWVLVRPHUVD6FKHGXOH,,FRQWUROOHG
       VXEVWDQFHLQYLRODWLRQRI86& D  DQG E  $ YLLL DOOLQYLRODWLRQRI
       86&

                       )$&76,168332572)352%$%/(&$86(

                                        Case Background

    7KLVLQYHVWLJDWLRQEHJDQLQ'HFHPEHURIXSRQWKHUHFHLSWRILQIRUPDWLRQIURPWKH
       &RORUDGR6SULQJV3ROLFH'HSDUWPHQW &63' UHODWHGWRDGUXJWUDIILFNLQJRUJDQL]DWLRQ
        '72 RSHUDWLQJLQ&RORUDGR6SULQJV&RORUDGRDQGVXUURXQGLQJDUHDV,QVXPPDU\WKH
       )%,DQGWKH&63'OHDUQHGWKDWVHYHUDOLQGLYLGXDOVZHUHGLVWULEXWLQJLOOHJDOGUXJVQDPHO\
       KHURLQDQGPHWKDPSKHWDPLQHLQ&RORUDGR6SULQJV&RORUDGR
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    7KURXJKWKLVLQYHVWLJDWLRQLQYHVWLJDWRUVKDYHOHDUQHGVHYHUDOGUXJUXQQHUVRSHUDWHIURP
       VWDVKKRXVHVLQ&RORUDGR6SULQJV&RORUDGRDQGUHFHLYHRXWRIVWDWHVKLSPHQWVRILOOHJDO
       GUXJVOLNHO\IURP$UL]RQD

                             A traffic stop that occurred on February 8, 2019

    2Q)HEUXDU\DWDSSUR[LPDWHO\KRXUV0HWUR9LFH1DUFRWLFVDQG
       ,QWHOOLJHQFH'LYLVLRQ 091, 6HUJHDQW/'\HUREVHUYHGD6X]XNL*UDQG9LWDUDWUDYHOLQJ
       QRUWKERXQGRQ1RUWK$FDGHP\%RXOHYDUG$WWKHLQWHUVHFWLRQRI1RUWK$FDGHP\DQG
       $XVWLQ%OXIIV6JW'\HUREVHUYHGWKH*UDQG9LWDUDWXUQHDVWIURP1RUWK$FDGHP\
       %RXOHYDUGLQWRWKHPLGGOHODQHRI$XVWLQ%OXIIV3DUNZD\LQYLRODWLRQRIORFDOWUDIILF
       ODZVUHTXLUHGSRVLWLRQDQGPHWKRGRIWXUQLQJ&RORUDGR5HYLVHG6WDWXWH &56 
         % 

    7KHYHKLFOHZDVUHJLVWHUHGWR&\QWKLD$//(1LQ3KRHQL[$UL]RQD$VZLOOEHGLVFXVVHG
       PRUHEHORZWKLVLQYHVWLJDWLRQKDVGHWHUPLQHGPXOWLSOHYHKLFOHVDVVRFLDWHGZLWKGUXJ
       GLVWULEXWLRQZHUHUHJLVWHUHGWR&\QWKLD$//(1

    6JW'\HUZDVLQUDGLRFRPPXQLFDWLRQZLWKPDUNHGSDWUROYHKLFOHVLQFOXGLQJ.2IILFHU
       -6KHOGRQ2IILFHU6KHOGRQUHFHLYHGWKHLQIRUPDWLRQIURP6JW'\HUDQGGHFLGHGWR
       LQLWLDWHDWUDIILFVWRSEDVHGRQWKHYLRODWLRQ6JW'\HUREVHUYHG2IILFHU6KHOGRQDFWLYDWHG
       KLVUHGDQGEOXHHPHUJHQF\OLJKWVRQKLVPDUNHGSROLFHYHKLFOHWKHYHKLFOH\LHOGHGDQG
       SXOOHGWRWKHULJKWVLGHRIWKHURDGMXVWHDVWRI$XVWLQ%OXIIVDQG1RUWK$FDGHP\

   2IILFHU6KHOGRQZDVZHDULQJDSROLFHXQLIRUPZLWKSROLFHPDUNLQJVDQGZDVDEOHWR
       LGHQWLI\KLPVHOIWRWKHGULYHURIWKH*UDQG9LWDUDZKRVSRNHOLWWOHWRQR(QJOLVKEXWZDV
       DEOHWRSURGXFHD0H[LFDQLGHQWLILFDWLRQFDUGLQWKHQDPHRI&ULVWLDQ'LD]'H/HRQ
       %HOWUDQ GDWHRIELUWK 2IILFHU6KHOGRQUHTXHVWHGWKDWD6SDQLVKVSHDNLQJ
       RIILFHUUHVSRQGWRWKHORFDWLRQRIWKHWUDIILFVWRS

   $SSUR[LPDWHO\WHQPLQXWHVODWHU(O3DVR&RXQW\6KHULII¶V2IILFH (362 6HUJHDQW
       0DQ]DQLOODDIOXHQW6SDQLVKVSHDNHUUHVSRQGHGDQGZDVDEOHWRFRQYHUVHZLWK'LD]'H
       /HRQ%HOWUDQ6JW0DQ]DQLOODDVNHG'LD]'H/HRQ%HOWUDQWRVWHSRXWRIWKHYHKLFOHDQG
       KHFRPSOLHG$IWHUVWHSSLQJRXWRIWKHYHKLFOH'LD]'H/HRQ%HOWUDQVWDWHGWKDWKHGLG
       QRWKDYHDGULYHU¶VOLFHQVHDYLRODWLRQRI&56

   $WWKLVWLPH2IILFHU6KHOGRQGHWDLQHG'LD]'H/HRQ%HOWUDQ(3626JW0DQ]DQLOOD
       DVNHG'LD]'H/HRQ%HOWUDQIRUSHUPLVVLRQWRVHDUFKKLVSHUVRQDQG'LD]'H/HRQ
       %HOWUDQDJUHHGDQGVWDWHGKHKDGQRWKLQJLOOHJDORQKLP'XULQJWKDWVHDUFK2IILFHU
       6KHOGRQORFDWHGDSODVWLFEDJJLHZLWKDEURZQFKXQN\VXEVWDQFHFRQVLVWHQWZLWKKHURLQ
       LQ'LD]'H/HRQ%HOWUDQ¶VMDFNHWSRFNHW,QGHHGDILHOGWHVWRIWKHVXVSHFWHGKHURLQZDV
       FRQGXFWHGDWKUVRQ)HEUXDU\ZKLFK\LHOGHGDSUHVXPSWLYHSRVLWLYHUHVXOW
       IRUWKHSUHVHQFHRIKHURLQDQGKDGDSDFNDJHGZHLJKWRIJUDPV

   $IWHU'LD]'H/HRQ%HOWUDQVWHSSHGRXWRIWKH*UDQG9LWDUD.2IILFHU-)DOHWWH
       FRQGXFWHGDQRSHQDLUVQLIIZLWKKLV.SDUWQHU.\OR.\ORLVWUDLQHGDQGFHUWLILHGWR
       GHWHFWVHYHUDOLOOHJDOVXEVWDQFHVLQFOXGLQJKHURLQDQGPHWKDPSKHWDPLQH.\ORLVQRW
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       FHUWLILHGWRGHWHFWPDULMXDQD7KH.DOHUWHGWRPXOWLSOHDUHDVRIWKH*UDQG9LWDUD
       VSHFLILFDOO\XQGHUQHDWKWKHUHDUSRUWLRQRIWKHYHKLFOHDQGWKHGULYHU¶VUHDUTXDUWHUSDQHO
       $IWHUWKHSRVLWLYHDOHUWIRUWKHSUHVHQFHRIQDUFRWLFVIURP..\OR2IILFHUVFRQGXFWHGD
       VHDUFKRIWKH*UDQG9LWDUD:LWKLQWKHYHKLFOHDPRQJRWKHUWKLQJV2IILFHUVORFDWHGD
       FRROHUZLWKLFHDQGPLONDQGR[\JHQWDQNV

   ,VXEPLWWKDWEDVHGRQWKHWLPHRIQLJKWWKHSUHVHQFHRIWKHFRROHUFRXOGEHDQLQGLFDWRU
       WKHYHKLFOHMXVWPDGHDORQJWULS,WLVXQOLNHO\RQHZRXOGKDYHDFRROHUZLWKLFHWRPDNH
       WULSVDURXQGWRZQLQWKHHYHQLQJ7KH*UDQG9LWDUDDOVRFRQWDLQHGH[WUDFORWKLQJDQG
       EDJV7KHVHIDFWVLQDGGLWLRQWRWKH$UL]RQDOLFHQVHSODWHVDQGWKHGLVWULEXWLRQTXDQWLW\
       RIKHURLQRQ'LD]'H/HRQ%HOWUDQ¶VSHUVRQZHUHVXVSLFLRXVWRLQYHVWLJDWRUV

   $WKUVRQ)HEUXDU\6JW0DQ]DQLOODUHDG'LD]'H/HRQ%HOWUDQKLV
       MirandaULJKWVLQ6SDQLVK'LD]'H/HRQ%HOWUDQDJUHHGWRVSHDNZLWK6JW0DQ]DQLOOD
       DIWHUXQGHUVWDQGLQJDQGZDLYLQJKLVMirandaULJKWV6JW0DQ]DQLOODDVNHG'LD]'H/HRQ
       %HOWUDQLIKHKDGDQ\PRUHGUXJVDWKLVUHVLGHQFHDQG'LD]'H/HRQ%HOWUDQUHVSRQGHG
       WKDWWKHUHZDVDSSUR[LPDWHO\WHQSRXQGVRIPHWKDPSKHWDPLQHDQGDQXQNQRZQTXDQWLW\
       RIKHURLQLQVLGHKLVDSDUWPHQWORFDWHGDW3RWWHU'ULYH$SDUWPHQW$&RORUDGR
       6SULQJV&RORUDGR'LD]'H/HRQ%HOWUDQVWDWHGWKDWQRERG\HOVHZDVLQVLGHWKH
       DSDUWPHQW

   'LD]'H/HRQ%HOWUDQKDGWKHNH\VWRWKHDSDUWPHQWLQKLVMDFNHWSRFNHWDQGYROXQWDULO\
       SURYLGHGWKHNH\VWRLQYHVWLJDWRUV

   ,QYHVWLJDWRUVUHVSRQGHGWRWKHDSDUWPHQWNQRFNHGRQWKHGRRUDQGDIWHUQRERG\
       DQVZHUHGIRXQGWKHNH\VWKDW'LD]'H/HRQ%HOWUDQSURYLGHGXQORFNHGWKHGRRU
       ,QYHVWLJDWRUVFRQGXFWHGDSURWHFWLYHVZHHSRIWKHDSDUWPHQWDQGIRXQGQRSHUVRQVLQVLGH
       ,QYHVWLJDWRUVLPPHGLDWHO\OHIWWKHDSDUWPHQWORFNHGWKHGRRUDQGSRVLWLRQHGDXQLIRUPHG
       SROLFHRIILFHULQIURQWRIWKHGRRUWRHQVXUHQRERG\HQWHUHGWKHDSDUWPHQW

                Search warrant obtained for Diaz De Leon Beltran’s apartment

   2Q)HEUXDU\LQYHVWLJDWRUVDSSOLHGIRUDQGZHUHJUDQWHGDVHDUFKZDUUDQWLQWKH
       WK-XGLFLDO'LVWULFWRI&RORUDGR(O3DVR&RXQW\IRUWKHDSDUWPHQW,QVLGHWKHDSDUWPHQW
       LQYHVWLJDWRUVIRXQGDPRQJRWKHUWKLQJVGUXJOHGJHUGRFXPHQWVEDJJLHVVFDOHVUXEEHU
       EDQGVDQGRWKHULWHPVFRQVLVWHQWZLWKWKHGLVWULEXWLRQRILOOHJDOGUXJV

   ,QYHVWLJDWRUVDOVRORFDWHGDEOXHGXIIOHEDJZLWKDSSUR[LPDWHO\VL[WHHQVHSDUDWHO\
       ZUDSSHGSDFNDJHVZLWKVXVSHFWHGLOOHJDOGUXJV6RPHRIWKHSDFNDJHVKDGURSHDWWDFKHG
       WRWKHP7KLVSDFNLQJLVVLJQLILFDQWEHFDXVHLWPDWFKHVWKHSDFNDJLQJRIGUXJVUHFRYHUHG
       RQ-XQHZKLFKZLOOEHGLVFXVVHGODWHU

   ,QYHVWLJDWRUVZHUHDEOHWRIHHOGLVWLQFWGLIIHUHQFHVLQWKHFRQVLVWHQF\RIWKHSDFNDJHVDQG
       IRXQGVRPHSDFNDJHVZHUHILUPDQGFRQWDLQHGDFU\VWDOOLNHVXEVWDQFHVXVSHFWHGWREH
       PHWKDPSKHWDPLQHDQGRWKHUSDFNDJHVZHUHVRIWHUDQGPRUHIOH[LEOHVXVSHFWHGWREH
       KHURLQEDVHGRQ'LD]'H/HRQ%HOWUDQ¶VVWDWHPHQWV

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   ,QGHHGILHOGWHVWVZHUHODWHUFRQGXFWHGRQVRPHEXWQRWDOORIWKHSDFNDJHV)LHOGWHVWV
       UHWXUQHGSUHVXPSWLYHO\SRVLWLYHUHVXOWVIRUWKHSUHVHQFHRIKHURLQDQGPHWKDPSKHWDPLQH
       7KHSDFNDJHVZHUHVRUWHGE\FRQVLVWHQF\DQGZHLJKHGLQWKHDPRXQWVRIDSSUR[LPDWHO\
       SRXQGVRIPHWKDPSKHWDPLQHDQGSRXQGVRIKHURLQUHVSHFWLYHO\

                     Search warrant obtained for the Suzuki Grand Vitara

   ,QYHVWLJDWRUVDSSOLHGIRUDQGZHUHJUDQWHGDVHDUFKZDUUDQWIRUWKH*UDQG9LWDUDE\WKH
       86'LVWULFW&RXUWIRUWKH'LVWULFWRI&RORUDGR'XULQJWKHVHDUFKRIWKHYHKLFOH
       LQYHVWLJDWRUVORFDWHGDILUHDUPLQVLGHWKHYHKLFOHDQGDKLGGHQFRPSDUWPHQWWKDWKDG
       EHHQLQVWDOOHG'XULQJD0LUDQGL]HGLQWHUYLHZ'LD]'H/HRQ%HOWUDQWROGLQYHVWLJDWRUV
       ZKHUHWRILQGWKHWUDSZKLFKUHTXLUHGWKHXVHRIWRROVDQGVRPHPHFKDQLFDONQRZOHGJH

   ,VXEPLWWKHKLGGHQFRPSDUWPHQWRU³WUDS´ZDVLQVWDOOHGVSHFLILFDOO\IRUWKHSXUSRVHVRI
       FRQFHDOLQJODUJHDPRXQWVRIQDUFRWLFVGXULQJWUDQVSRUWDQGWKLVYHKLFOHZDVGHVLJQDWHG
       VSHFLILFDOO\IRUWKHSXUSRVHVRIWUDQVSRUWLQJLOOHJDOQDUFRWLFV

   $OVRORFDWHGLQVLGHWKHYHKLFOHZHUHVHYHUDOR[\JHQWDQNV$WWKHWLPHWKLVVHDUFKZDUUDQW
       ZDVH[HFXWHGWKHR[\JHQWDQNVKDGOLWWOHWRQRVLJQLILFDQFHWRLQYHVWLJDWRUV+RZHYHUDV
       ZLOOEHGLVFXVVHGEHORZLQYHVWLJDWRUVEHOLHYHWKHR[\JHQWDQNVGRLQGHHGKDYHDUROH

                             GPS tracking of a Chevrolet Equinox

   'XULQJWKHFRXUVHRIWKHLQYHVWLJDWLRQLQYHVWLJDWRUVOHDUQHGRID&KHYUROHW(TXLQR[DOVR
       UHJLVWHUHGWR&\QWKLD$//(1LQ3KRHQL[$UL]RQD7KH(TXLQR[ZDVEHOLHYHGWRSOD\D
       UROHLQWKHWUDQVSRUWDWLRQDQGGLVWULEXWLRQRILOOHJDOGUXJV%DVHGXSRQLQIRUPDWLRQ
       REWDLQHGLQWHUYLHZVFRQGXFWHGDQGSK\VLFDOVXUYHLOODQFHLQYHVWLJDWRUVDSSOLHGIRUDQG
       ZHUHJUDQWHGD*36WUDFNLQJZDUUDQWIRUWKH&KHYUROHW(TXLQR[E\)HGHUDOFRXUWVLQERWK
       WKH'LVWULFWRI&RORUDGRDQG'LVWULFWRI$UL]RQD,QYHVWLJDWRUVZHUHDOHUWHGWKDWWKH
       &KHYUROHW(TXLQR[EHJDQWUDYHOLQJWRZDUGV&RORUDGRIURP$UL]RQDRUDERXW-XQH
       

                Execution of Federal search warrant on the Chevrolet Equinox

   2Q-XQHLQYHVWLJDWRUVDSSOLHGIRUDQGREWDLQHGDVHDUFKZDUUDQWIRUWKH
       &KHYUROHW(TXLQR[LQWKH86'LVWULFW&RXUWIRUWKH'LVWULFWRI&RORUDGR,QYHVWLJDWRUV
       H[HFXWHGWKDWVHDUFKZDUUDQWRQWKH&KHYUROHW(TXLQR[ODWHUWKDWVDPHGD\LQ&RORUDGR
       6SULQJV&RORUDGR

   'XULQJWKHVHDUFKRIWKHFDULQYHVWLJDWRUVGLVFRYHUHGDQGVHL]HGDSSUR[LPDWHO\QLQH
       SRXQGVRIPHWKDPSKHWDPLQHDQGRQHSRXQGRIKHURLQ7KHGUXJVZHUHSDFNDJHG
       UHPDUNDEO\VLPLODUWRWKHGUXJVUHFRYHUHGIURPWKHDSDUWPHQWRI'LD]'H/HRQ%HOWUDQ
       LQFOXGLQJWKHDWWDFKHGURSHDQGWKHSDFNDJLQJPDWHULDOV

   /DZHQIRUFHPHQWRIILFHUVDUUHVWHGWKHWKUHHRFFXSDQWVRIWKH&KHYUROHW(TXLQR[&\QWKLD
       'DZQ$//(1 GDWHRIELUWK &DUOWRQ/HUR\$//(1 GDWHRIELUWK
        DQG$VKOH\1DRPL5DQHH5('( GDWHRIELUWK 

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                         Interview of Cynthia ALLEN on June 23, 2019

   2Q-XQH&\QWKLD'DZQ$//(1ZDVDGYLVHGRIKHUMirandaULJKWVDQGDJUHHG
       WREHLQWHUYLHZHGE\ODZHQIRUFHPHQW+LVLQWHUYLHZZDVDXGLRUHFRUGHG

   'XULQJWKHLQWHUYLHZZKLFKIROORZHG&\QWKLD$//(1VWDWHGDSSUR[LPDWHO\RQH\HDU
       SULRUVKHZDVDSSURDFKHGE\D+LVSDQLFPDOHNQRZQWRKHUDV³$QWRQLR´DQGKHRIIHUHG
       WRSD\KHUWRGULYHDYHKLFOHWR&RORUDGR6SULQJV&RORUDGRDQGUHWXUQZLWKWKH
       YHKLFOH6KHVWDWHGVKHGLGWKLVDSSUR[LPDWHO\ILYHWLPHVLQWKHODVW\HDU6KHVWDWHGVKH
       QHYHUNQHZZKDWVKHZDVWUDQVSRUWLQJLQWKHFDUEXWDVVXPHGLWZDVGUXJVRUPRQH\
       IURPGUXJV6KHNQHZ³$QWRQLR´ZDVLQYROYHGLQGUXJVDOHVEHFDXVHVKHSXUFKDVHVXVHU
       DPRXQWVRIKHURLQIURPKLP

   $//(1VWDWHGWKDW³$QWRQLR´WROGKHUZKHUHWRSLFNXSWKHYHKLFOHWKDWVKHZDVGULYLQJ
       WR&RORUDGR6SULQJV6RPHWLPHVVKHPDGHWKHWULSZLWKKHUKXVEDQG&DUOWRQ$//(1DQG
       VRPHWLPHVZLWK$VKOH\5('(DQGDJLUOVKHNQRZVDV³7UDF\´$IWHUSLFNLQJXSWKH
       YHKLFOH$//(1DQGWKHRWKHUVZRXOGWDNHLWWR&RORUDGR6SULQJVDQGFDOO$QWRQLRZKHQ
       WKH\DUULYHG³$QWRQLR´ZRXOGHLWKHUWHOOWKHPZKHUHWRJRRUVRPHRQHZRXOGPHHWWKHP
       7KHSHUVRQWKH\PHWLQ&RORUDGR6SULQJVZDVDOZD\VD\RXQJHU+LVSDQLFPDOHDQGWKDW
       SHUVRQFKDQJHGRIWHQ7KHSHUVRQWKH\ZRXOGPHHWZRXOGWDNHWKHYHKLFOHWKH\FDPHLQ
       DQGWKH\ZRXOGWDNHWKDWSHUVRQ¶VFDU$IWHUDSSUR[LPDWHO\DQKRXUWKH\ZRXOGWUDGH
       YHKLFOHVDJDLQDQGWUDYHOEDFNWR3KRHQL[$UL]RQD

   2QFHEDFNLQ3KRHQL[RUFORVHSUR[LPLW\WR3KRHQL[WKH\ZRXOGFDOO³$QWRQLR´DQGKH
       ZRXOGWHOOWKHPZHUHWROHDYHWKHFDU7KH\ZHUHSDLGFDVKE\WKHSHUVRQLQ
       &RORUDGR6SULQJVWKDWWKH\ZRXOGPHHWZLWK7KH\ZRXOGQHYHUNQRZZKRWKH\ZHUH
       PHHWLQJZLWKLQ&RORUDGR6SULQJVDQGZRXOGQRWFRPPXQLFDWHZLWKWKDWSHUVRQRWKHU
       WKDQWRH[FKDQJHYHKLFOHVDQGUHFHLYHSD\PHQW$//(1GRHVQRWNQRZZKHUH³$QWRQLR´
       OLYHV

   $//(1H[SODLQHGWKDWRQ-XQHVKH&DUOWRQ$//(1DQG$VKOH\5('(PHW
       ZLWKWKHSHUVRQWKH\ZHUHWRH[FKDQJHYHKLFOHVZLWKLQWKHSDUNLQJORWQHDU$LUSRUW5RDG
       DQG$FDGHP\%OYG7KH\ZHUHSDLGDQGWKHSHUVRQWROGWKHPWKDWWKH\ZRXOG
       PHHWWKHIROORZLQJGD\WRH[FKDQJHYHKLFOHV,QYHVWLJDWRUVZHUHFRQGXFWLQJVXUYHLOODQFH
       GXULQJWKDWWLPHDQGODWHUZHUHDEOHWRLGHQWLI\WKHSHUVRQWKH$//(1VDQG5('(PHW
       ZLWKDV*LO6$17,1,-(68627+21

   &\QWKLD$//(1KDGMXVWXQGHUFDVKLQKHUSRVVHVVLRQDWWKHWLPHRIKHUDUUHVW
       7KHPRQH\$//(1KDGLQKHUSRVVHVVLRQXSRQKHUDUUHVWZDVPRQH\WKDW27+21KDG
       JLYHQWRWKHPIRUGULYLQJWKH&KHYUROHW(TXLQR[WR&RORUDGR6SULQJV6RPHRIWKHPRQH\
       ZDVXVHGWRSD\IRUDKRWHOURRP

   $//(1VWDWHGWKDWWKHWULSVDUHDOZD\VWKHVDPH7KHRQO\FKDQJHZRXOGEHZKRWKH\
       ZRXOGPHHWZKHQWKH\DUULYHGLQ&RORUDGR6SULQJV

   $//(1VWDWHGVKHUHJLVWHUHGWKUHHYHKLFOHVIRU³$QWRQLR´WKH&KHYUROHW(TXLQR[D
       6X]XNL689DQGD1LVVDQ6HQWUD6KHGLGQRWRZQWKHYHKLFOHVEXWVKHZDVDVNHGWR
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       UHJLVWHUWKHP6KHGLGQRWKDYHDFFHVVWRWKHYHKLFOHVXQOHVVVKHWRRNWKHPWR&RORUDGR
       6SULQJV

                         Interview of Carlton ALLEN on June 23, 2019

   2Q-XQH&DUOWRQ/HUR\$//(1ZDVDGYLVHGRIKLVMirandaULJKWVDQGDJUHHG
       WREHLQWHUYLHZHGE\ODZHQIRUFHPHQW+LVLQWHUYLHZZDVDXGLRUHFRUGHG

   'XULQJWKHLQWHUYLHZZKLFKIROORZHG&DUOWRQ$//(1VWDWHGWKDWKHDQGKLVZLIH&\QWKLD
       ZHUHDSSURDFKHGE\³$QWRQLR´WRGULYHDYHKLFOHWR&RORUDGR6SULQJV&RORUDGRDQGJHW
       SDLGHYHU\WLPHWKH\GLGVR7KLVKDSSHQHGDSSUR[LPDWHO\RQH\HDUDJR+H
       HVWLPDWHVWKDWKHKDVPDGHIRXURUILYHWULSVWR&RORUDGR6SULQJVIRU³$QWRQLR´

   $//(1VWDWHGWKH\QHHGHGPRQH\DQGZHUHKRPHOHVVVRWKHDJUHHGWRGRWKLV+HVWDWHG
       WKDWKHNQHZWKHUHZDVVRPHWKLQJLOOHJDOLQWKHFDUEXWGLGQRWNQRZZKDWRUZKHUHLW
       ZDV+HDVVXPHGLWZDVGUXJV+HVWDWHGWKDWKHQHYHUDVNHGZKDWZDVLQWKHFDURUQHYHU
       ORRNHGIRULW$//(1DQGKLVZLIHZRXOGSLFNXSDYHKLFOHIURPDSUHGHWHUPLQHG
       ORFDWLRQDWWKHGLUHFWLRQRI³$QWRQLR´LQ3KRHQL[7KHNH\VZRXOGEHLQWKHJDVWDQNOLG

   :KHQWKH\DUULYHGLQ&RORUDGR6SULQJVWKH\ZRXOGFRQWDFW³$QWRQLR´E\FHOOSKRQHDQG
       KHZRXOGHLWKHUWHOOWKHPZHUHWRJRRUVHQGVRPHRQHWRZKHUHWKH\ZHUH$\RXQJHU
       +LVSDQLFPDOHZRXOGDUULYHDQGPHHWWKHP7KH\ZRXOGWUDGHYHKLFOHVZLWKWKDWSHUVRQ
       DQGDIWHUDQKRXURUVRWKH\ZRXOGDJDLQPHHWWKDWVDPHSHUVRQDQGWUDGHEDFNYHKLFOHV
       7KH\ZRXOGWKHQWUDYHOEDFNWR3KRHQL[RUVSHQGWKHQLJKWDQGWUDYHOWKHIROORZLQJGD\
       7KHSHUVRQWKDWWKH\ZRXOGPHHWZLWKZRXOGSD\WKHPLQFDVKIRUGULYLQJWKH
       YHKLFOH:KHQWKH\DUULYHGEDFNLQ3KRHQL[WKH\ZRXOGFRQWDFW³$QWRQLR´E\SKRQHDQG
       KHZRXOGWHOOWKHPZHUHWROHDYHWKHYHKLFOH

   $//(1H[SODLQHGWKDWRQ-XQHWKH\ZHUHWROGE\³$QWRQLR´WRPHHWWKHSHUVRQ
       QHDUWKHLQWHUVHFWLRQRI$LUSRUWDQG$FDGHP\$+LVSDQLFPDOHGULYLQJDVLOYHU689PHW
       ZLWKWKHPDQGKHGLGQRWVSHDN(QJOLVK1RWNQRZLQJKRZWRVSHDN6SDQLVKWKH\FDOOHG
       ³$QWRQLR´ZKRLQWHUSUHWHGRYHUWKHSKRQH7KH\ZHUHSDLGE\WKHSHUVRQWKH\PHW
       ZLWKDQGZHUHWROGWRJHWDKRWHODQGWKH\ZRXOGPHHWZLWKWKLVVDPHSHUVRQWKH
       IROORZLQJGD\WRH[FKDQJHYHKLFOHV7KHSKRQHWKDWZDVXVHGWRWDONWR³$QWRQLR´
       EHORQJHGWR$VKOH\5('(ZKRZDVLQFRPPXQLFDWLRQZLWK³$QWRQLR´

   $//(1VWDWHGWKDWHYHU\WULSZDVWKHVDPHRWKHUWKDQZKRWKH\ZHUHWRPHHWZLWKLQ
       &RORUDGR6SULQJV7KLVSHUVRQFKDQJHGRIWHQDQGZDVUDUHO\WKHVDPHSHUVRQDVWKH
       SUHYLRXVWULS$VPHQWLRQHGDERYHWKHLQGLYLGXDO&DUOWRQPHWZLWKWKLVWULSZDV27+21

                          Interview of Ashley REDE on June 23, 2019

   2Q-XQH$VKOH\1DRPL5DQHH5('(ZDVDGYLVHGRIKHUMirandaULJKWVDQG
       DJUHHGWREHLQWHUYLHZHGE\ODZHQIRUFHPHQW+LVLQWHUYLHZZDVDXGLRUHFRUGHG

   'XULQJWKHLQWHUYLHZZKLFKIROORZHG5('(H[SODLQHGVKHLVGDWLQJWKHVRQRI&\QWKLD
       $//(1DQGFRQVLGHUV&\QWKLDDQG&DUOWRQWREHKHULQODZV

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   5HGHVWDWHGWKDWVKHKDVWDNHQWZRWULSVWR&RORUDGR6SULQJV²WKHILUVWEHLQJLQ)HEUXDU\
       RU0DUFKRI$WWKDWWLPHVKHFDPHZLWK&\QWKLD$//(1DQG³7UDF\´5('(
       VWDWHGWKDWVKHZHQWDORQJMXVWWRJHWRXWRI3KRHQL[IRUDFRXSOHRIGD\VWRWDNHDURDG
       WULS,QYHVWLJDWRUVDUHLQSRVVHVVLRQRIHYLGHQFHWKDWGHPRQVWUDWHV5('(ZDVQRW
       FRPSOHWHO\WUXWKIXOZLWKLQWHUYLHZLQJDJHQWVDQGPLQLPL]HGDQGRPLWWHGUHOHYDQW
       LQIRUPDWLRQ7KLVHYLGHQFHLQFOXGHV)DFHERRNFRQYHUVDWLRQVZKLFKZLOOEHGLVFXVVHG
       EHORZ

   $FFRUGLQJWR5('(ZKHQWKH\DUULYHGRQWKHSULRUWULSWKH\GURYHWRDQDXWRSDUWVVWRUH
       DQGZDLWHG$+LVSDQLFPDOHLQDPDURRQFDUDUULYHGDQGPHWZLWKWKHP7KH\WUDGHG
       FDUVZLWKWKDWSHUVRQDQGDIWHUDSSUR[LPDWHO\DQKRXUWKH\PHWWKHSHUVRQEDFNDWWKH
       DXWRSDUWVVWRUHDQGWUDGHGFDUVZLWKKLPDJDLQEDFNWRWKHLURULJLQDOFDU7KHFDUWKH\
       KDGWKDWGD\ZDVWKHVDPHFDUWKH\ZHUHLQRQWKLVWULS²WKHZKLWH&KHYUROHW(TXLQR[

   5HGHVWDWHGWKDW&\QWKLD$//(1ZDVSDLGIRUWKHWULSEXW5('(GRHVQRWNQRZKRZ
       PXFK2QWKHILUVWWULS³7UDF\´ZDVJLYHQRIWKHSD\PHQW

   $IWHUWKHH[FKDQJHRQWKHILUVWWULSWKH\VWD\HGWKHQLJKWLQDKRWHOLQ&RORUDGR6SULQJV
       WKHQGURYHWR3KRHQL[WKHIROORZLQJGD\

   2Q-XQH5('(ZDVDJDLQDVNHGE\&\QWKLD$//(1DQG&DUOWRQ$//(1WRJR
       WR&RORUDGR6SULQJV6KHZDVSLFNHGXSE\WKHWZRLQWKH&KHYUROHW(TXLQR[DQGVWDUWHG
       WKHGULYHWR&RORUDGR6SULQJVIURP3KRHQL[$IWHUVSHQGLQJWKHQLJKWLQ1HZ0H[LFR
       WKH\DUULYHGLQ&RORUDGR6SULQJVRQ-XQH7KH\ZHQWWRWKHVDPHDXWRSDUWV
       VWRUHWKDWWKH\ZHQWWRRQWKHILUVWWULSDQGFRQWDFWHG³$QWRQLR´7KH\ZHUHWROGWKDWWKH
       SHUVRQWKH\ZHUHVXSSRVHGWRPHHWZDVQRWDQVZHULQJWKHSKRQHDQGWRZDLW

   ³$QWRQLR´FRQWDFWHGWKHPODWHUDQGWROGWKHPWRJRWRDQDGGUHVVQHDU$LUSRUW5RDGDQG
       $FDGHP\%OYG7KHUHWKH\PHWZLWKD+LVSDQLFPDOHGULYLQJD689%HFDXVHWKHUHZDV
       DODQJXDJHEDUULHU5('(FDOOHG³$QWRQLR´IURPKHUFHOOSKRQHDQG³$QWRQLR´
       LQWHUSUHWHGIRUWKHP+HUXQGHUVWDQGLQJZDVWKDWWKH\ZHUHWRJHWDKRWHODQGPHHWZLWK
       WKDWSHUVRQWKHIROORZLQJGD\

   5('(VWDWHGWKDWVKHQHYHUNQHZZKDWZDVLQWKHFDUWKH\ZHUHGULYLQJEXWWKRXJKWLW
       PD\EHGUXJV6KHQHYHUVDZGUXJVRUODUJHVXPVRIPRQH\DQGGLGQ¶WNQRZZKHUHLWZDV
       LQWKHFDU6KHVWDWHGWKDWVKHGLGQRWZDQWWRNQRZDQGQHYHUDVNHG

   ,QYHVWLJDWRUVKDGSUHYLRXVO\ODZIXOO\REWDLQHG)DFHERRNPHVVDJHVIURPDQDFFRXQW
       EHOLHYHGWREHXWLOL]HGE\5('(:LWKLQWKRVHPHVVDJHVLQYHVWLJDWRUVORFDWHG
       FRQYHUVDWLRQVUHODWHGWRSULRUWULSVWR&RORUDGRLQFOXGLQJGLVFXVVLQJWKHWLPLQJSD\PHQW
       DPRXQWDQGPHHWLQJORFDWLRQV&RPPXQLFDWLRQVDOVRH[LVWWKDWVXJJHVW5('(LVDGUXJ
       XVHUDQGKDVSXUFKDVHGGUXJVIURP³$QWRQLR´LQWKHSDVW)XUWKHUPRUHGXULQJWKH
       LQWHUYLHZRI&DUOWRQ$//(1KHVWDWHG5('(ZDVWKHLQGLYLGXDOLQFRQWDFWZLWK
       ³$QWRQLR´

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                      Interview of Gil SANTINI JESUS OTHON on June 24, 2019

   2Q-XQH*LO6$17,1,-(68627+21ZDVDGYLVHGRIKLVMirandaULJKWVDQG
       DJUHHGWRVSHDNZLWKLQYHVWLJDWRUV+LVLQWHUYLHZZDVDXGLRUHFRUGHG

   27+21VWDWHGKHKDGEHHQLQ&RORUDGR6SULQJVIRUVHYHUDOZHHNVDQGOLYHGLQDQ
       DSDUWPHQWFRPSOH[RII$LUSRUW5G,QYHVWLJDWRUVZHUHIDPLOLDUZLWKWKDWDSDUWPHQW
       FRPSOH[EDVHGRQSK\VLFDOVXUYHLOODQFHFRQGXFWHGGXULQJWKHLQYHVWLJDWLRQ:LWKLQWKH
       DSDUWPHQW27+21VDLGWKHUHZDVWKRXVDQGVRIGROODUVRI86FXUUHQF\WKDWEHORQJHGWR
       ³$QWRQLR´27+21VDLGKHKDGSLFNHGXSPRQH\RQEHKDOIRI³$QWRQLR´RQVHYHUDO
       GLIIHUHQWRFFDVLRQV

   27+21DOVRVWDWHGKHKDGVROGPHWKDPSKHWDPLQHLQ&RORUDGR6SULQJVRQEHKDOIRI
       ³$QWRQLR´+HZDVXQVXUHRIWKHZHLJKWRIWKHPHWKDPSKHWDPLQHEXWPDGHDKDQG
       JHVWXUHGXULQJWKHLQWHUYLHZWKDWVXJJHVWHGLWZDVVLJQLILFDQWO\PRUHWKDQXVHUTXDQWLWLHV

   'HWHFWLYHVZLWKWKH&63'DSSOLHGIRUDQGZHUHJUDQWHGDVWDWHVHDUFKZDUUDQWIRUWKH
       DSDUWPHQWRI27+21:LWKLQWKHDSDUWPHQWWKH\IRXQGRYHULQ86FXUUHQF\
       7KHPRQH\ZDVKLGGHQLQVLGHDSLHFHRIOXJJDJHZLWK27+21¶VQDPHRQLWDORQJZLWK
       27+21¶V0H[LFDQSDVVSRUW,QWKHNLWFKHQLQYHVWLJDWRUVIRXQGDGLJLWDOVFDOHZLWK
       UHVLGXHFRQVLVWHQWZLWKKHURLQPXOWLSOHVDQGZLFKVL]HGSODVWLFEDJJLHVSODVWLFZUDSDQG
       UHGJUHDVH

                                        &21&/86,21

   %DVHGRQWKHDIRUHPHQWLRQHGIDFWXDOLQIRUPDWLRQ,UHVSHFWIXOO\VXEPLWWKHUHLVSUREDEOH
       FDXVHWREHOLHYHWKDWIURPDWLPHXQNQRZQEXWQRWODWHUWKDQRQRUDERXW)HEUXDU\
       XSWRDQGLQFOXGLQJRQRUDERXW-XQHLQWKH6WDWHDQG'LVWULFWRI&RORUDGR
       DQGHOVHZKHUH*,/6$17,1,-(68627+21&<17+,$'$:1$//(1
       &$5/721/(52<$//(1DQG$6+/(<1$20,5$1((5('(DQGRWKHUVERWK
       NQRZQDQGXQNQRZQGLGNQRZLQJO\DQGLQWHQWLRQDOO\FRPELQHFRQVSLUHFRQIHGHUDWH
       DQGDJUHHZLWKLQWHUGHSHQGHQFHWRGLVWULEXWHDQGSRVVHVVZLWKLQWHQWWRGLVWULEXWH
       JUDPVDQGPRUHRIDPL[WXUHDQGVXEVWDQFHFRQWDLQLQJDGHWHFWDEOHDPRXQWRI
       PHWKDPSKHWDPLQHLWVVDOWVLVRPHUVDQGVDOWVRILWVLVRPHUVD6FKHGXOH,,FRQWUROOHG
       VXEVWDQFHLQYLRODWLRQRI86& D  DQG E  $ YLLL DOOLQYLRODWLRQRI
       86&

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                                                              s/Andrew Cohen
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